
The Supreme Court affirmed the decree of the Common Pleas, on the 14th of April, in the following opinion:
Per Curiam.
The legal title to all the partnership assets rests in á sole surviving partner of the firm. He is entitled to the exclusive possession and control thereof. He may sell and dispose of the whole assets or any part thereof in payment of the debts of the firm. The payment of ouc creditor is no fraud on the other creditors. It is true that the Act of April 17, 1843, P. Laws *365273, prohibits preferences in assignments for the benefit of creditors ; yet it does not prevent a debtor by a conveyance or transfer of property, to prefer any of his creditors,, although he may thereby hinder or prevent his other creditors from collecting just demands. To defeat a transfer to a creditor accompanied by a delivery of possession, there must be an actual intent to hinder or delay the other creditors; Bentz vs. Rockey, 69 Pa. 71; Wilson vs. Berg, 88 Pa. 167. In this case the payment was made in good faith, to apply on an unquestioned debt against the firm. The surviving partner had a right to so appropriate the assets of the firm. It follows that the Court committed no error in dismissing the bill.
Decree affirmed and appeal dismissed at the costs of the appellants.
